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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA



 STATE OF MISSOURI, et al.,

                       Plaintiffs,

            v.                                         Case No. 2:24-cv-00103-JRH-CLR

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                       Defendants.


                                      [PROPOSED] ORDER
         Upon consideration of Defendants’ motion for leave to file excess pages, and the entire record

herein, it is hereby

         ORDERED that the motion is granted; and it is further

         ORDERED that Defendants may file a 32-page response brief.

         SO ORDERED.


Date:


                                                ______________________________________
                                                THE HONORABLE CHRISTOPHER L. RAY
                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF GEORGIA
